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                          Notice Party List Pg 1 of 2



                                  Exhibit B

                               Notice Party List
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                               Notice Party List Pg 2 of 2



                                      Notice Party List

Notice Party Name                        Notice Party Address
Office of the United States Trustee      844 King Street
                                         Suite 2207
                                         Lockbox 35
                                         Wilmington, DE 19801
                                         United States
                                         Attn: David Buchbinder;
                                         david.l.buchbinder@usdoj.gov
Office of the United States Trustee      U.S. Federal Office Buildings
                                         201 Varick Street, Room 1006
                                         New York, New York 10014
Bank of New York Mellon, as              240 Greenwich Street, Floor 7 East
Indenture Trustee                        New York, NY 10286
                                         Attn: Joseph Costantino;
                                         joseph.costantino@bnymellon.com
                                         Attn: Iris Munoz; Iris.Munoz@bnymellon.com
Norton Rose Fulbright US LLP             1301 Avenue of the Americas
                                         New York, New York 10019-6022
                                         Attn: Marian Baldwin Fuerst;
                                         marian.baldwin@nortonrosefulbright.com
                                         Attn: Francisco Vazquez;
                                         francisco.vazquez@nortonrosefulbright.com
Akin Gump Strauss Hauer & Feld           One Bryant Park
                                         New York, NY 10036
                                         Attn: David H. Botter; dbotter@akingump.com
Institutional Multiple Investment Fund   60 State Street
LLC                                      Boston, MA 02114
                                         Attn: Kenneth Monaghan
Banco Monex, S.A., Institución De        Avenida Paseo de la Reforma 284
Banca Múltiple, Monex Grupo              Mexico City, Mexico 06600
Financier                                Attn: Jacobo G. Martinez Flores
Solitaire Fund                           Aeulestrasse 6
                                         Vaduz, Liechtenstein 9490
                                         Attn: Dr. Martin Jonasch and Lisa Saleteg, VP Fund
                                         Solutions (Liechtenstein) AG as management
                                         company of Solitaire Fund
